        Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 1 of 7




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

            v.                                 21 Cr. 310 (ABJ)

ISRAEL TUTROW

                  DEFENSE SENTENCING MEMORANDUM


      Since June 2021 when I filed my first Sentencing Memorandum for a
“Capitol Case” the Government has changed its recommendation for
individuals charged with Parading, Demonstrating, or Picketing in a Capitol
Building 40 USC § 5104(e)(2)(G), 40 USC § 5109(b) from a request for
three years probation to a request for a period of incarceration.

      In June 2021 the Office of the United States Attorney, called for a
probationary sentence in Cr. 21-164 for a defendant:


      (1) did not engage in any preplanning or coordination prior to entry
in the Capitol;
      (2) did not personally engage in acts of violence or destruction of
property, or incite the same;
      (3) only remained in the Capitol for a brief period of time and in a
limited area of the building;


      (4) cooperated with law enforcement at the time of arrest;
      (5) timely admitted [his] actions and accepted responsibility;
       Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 2 of 7




     (6) expressed contrition; and

     (7) does not have a criminal history.



     Israel Tutrow recognizes he has a criminal history. He has convictions
for two misdemeanor marijuana offenses, for contributing to the
delinquency of a minor and for underage drinking. Nonetheless in
recognition that his offense conduct on January 6th was minimal, the United
States Probation Office is recommending a Sentence of Probation.


     This change in DOJ policy requires counsel to discuss why a non
custodial sentence of probation, is a more sagacious response to this
misconduct.    A term of probation could require the defendant to
participate in continued education and to seek appropriate medical
treatment. A thirty -six month period of supervision is three times greater
than the twelve months of supervised release permitted —were the Court
to impose a custodial sentence. In conformance with the provisions of U.S.
Code 18 §3553 probation is the appropriate sentence for Israel Tutrow.
Any period of incarceration is a punishment greater than necessary to
comply with the purposes of sentencing.


     What occurred on January 6, 2021 was not a naturally developed
political protest. It was, I believe, a coup attempt--fomented intentionally
by right wing actors who used data mining and psychological manipulation.
Vulnerable individuals were identified and persuaded through the internet
that it was their patriotic duty to come to Washington to support Trump.
In Washington, they were emboldened and ushered down the avenue to
“Stop the Steal” and to storm the Capitol.




                                                                           2
       Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 3 of 7




     It is fitting and appropriate to arrest those who participated in the
attempted coup. The difficult question is what is the appropriate sanction
for a pawn who personally did no physical damage nor assaulted law
enforcement-- but nonetheless participated in the riot.       As Fiona Hill
recently stated the “main threats” to democracy come from right-wing
actors who are deliberately undermining faith in the “integrity of the
election system” and “calling for violence against fellow Americans.”
Among the thousands who came to Washington in January and have since
been arrested-- few among the arrested are the people described by
Ambassador Hill. Of the several individuals I have been appointed to
represent—none are informed, intentional political actors. Four of the
individuals I represent are very young—were heavily reliant on the
internet—were uniformed and misinformed. Two individuals suffer from
diagnosed mental diseases. The balance of individuals I have come to know
and to respect are vulnerable, politically unsophisticated individuals, who
are truly confounded by what is happening in our country. Good people
with no criminal history—our neighbors-- who were fed cynical and
dangerous misinformation which destroyed their faith in the integrity of
the election system. People who wrongly believed they could save
America.


     The lack of information, the loss of rationality and the loss of civic
literacy that led to January 6, 2021 can only be addressed by education,
respect and love. To save our Union we must be wise. We must be
compassionate. We must listen. We must provide the opportunity for the
approximately 550 charged misdemeanants to receive more education,
and to encourage each of them to study history and to gain civic literacy.
Only knowledge—truth based on facts-- can foster change. At this critical
moment of civil discord and domestic contention --if it is still possible to


                                                                           3
       Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 4 of 7




create a more perfect Union --it must be through education. We cannot
force people to learn. But during Probation, we can provide the impetus
and the opportunity of continuing education.


     Criminal sentences serve two purposes. They serve the goal of
deterring future crime by both the charged individual and by other
individuals contemplating commission of the same crime. A sentence also
serves the goal of retribution – on the theory a criminal deserves
punishment for having acted criminally. The Sentencing Judge however
must impose the least severe sentence that still achieves both goals, while
also considering the need for societal protection. 18 U.S.C. § 3553.


     To impose a custodial sentence for an individual as described in
subsections (1)-(7) above, would be to impose a sentence greater than
necessary to comply with the purposes of §3553. Further, the perception
of an unwarranted prison sentence had been imposed, could increase the
risk of civil discord, rather than deter future insurgence. We should not
make pariahs or martyrs of these men and women. They are our fellow
citizens. If one objective of sentencing is to deter future misconduct and
to strengthen our civil harmony-- I commend the Court to impose a
Sentence of Probation on Israel Tutrow.


      He has shown he is willing to learn and to revisit his past mistakes.
He has shown remorse and humility. He told counsel that his involvement
in this horrific and historic event and his arrest in consequence of his
participation, have made him focus on who he is and what he must do to
grow to be the person he aspires to become. After a year of joblessness,
he is now employed. After dropping out of school, he has returned to
community college. He is working and he is studying. He has stopped


                                                                          4
       Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 5 of 7




marijuana use and alcohol consumption. He is striving to heal himself and
to realize the expectations his grandparents have faith he can achieve.


     The Solomonic proverbs are relevant here as they are to every
Sentence. Proverbs 10:12 “Hatred stirs up trouble, but love forgives all
wrongs.”. Proverbs 10:23 “A foolish person enjoys doing wrong, but a
person with understanding enjoys doing what is wise.”


      As the Reverend Martin Luther King said “Love is the only force
capable of transforming an enemy into a friend… Darkness cannot drive
out darkness; only light can do that. Hate cannot drive out hate; only love
can do that.” As I watched the riot on January 6, 2021 I experienced fear,
tremendous anger, hurt and turmoil. I wanted revenge.


     When I was appointed to represent individuals before this Court, I
heard different voices. It is true, I have met some people who hold what I
consider to be dangerous beliefs, Who are steadfast in their beliefs in
Antifa conspiracy. But I have also met people willing to question their
beliefs and to seek answers. To read, ask questions and to challenge their
earlier ideas. The individual must be willing to change his or her ways. No
one can force another to transform. Love is powerful.          Listening with
respect is powerful. I no longer want revenge.


     As Martin Luther King said, …revenge, aggression and retaliation is
an ineffective method that only fuels hate. We must develop and maintain
the capacity to forgive. He who is devoid of the power to forgive is devoid
of the power to love… Darkness cannot drive out darkness; only light can
do that. Hate cannot drive out hate; only love can do that.”




                                                                            5
       Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 6 of 7




     Israel Tutrow came to Washington and illegally entered the Capitol
on January 6, 2021. He was arrested on January 27, 2021 and has been on
Pre Trial Supervision for eleven months. He was my second appointed
Capitol defendant. He has matured since his incarceration in January. He
has learned from his impulsive behavior.       He has been in frequent
conversation with me for eleven months. We correspond ten times on his
bad days. He writes with joy on days when he has success. He is trying to
move forward and to make amends for his offense conduct. He turned
himself into the FBI, when he learned there was an arrest warrant. He
participated in a voluntary interview. He turned over his phones. He gave
law enforcement the phone passwords. He has been 100% compliant with
Pre Trial Services for eleven months.


     This young man is not political. He has not registered to vote. He is
not a MAGA supporter. A friend, Joshua Wagner, asked him to come to
Washington, to share the driving. It was a road trip. Israel attended the
rally and walked with Joshua to the Capitol. He wore a costume. His friend
bought him a Trump hat. At the Capitol he stood outside while his friends
went inside. He suffered an anxiety attack when he realized they were
separated. He texted a friend in Indiana to get Josh’s phone number. He
went inside to find him. He was inside for a short period of time and
remained in a limited part of the Capitol. He exited and re-united with his
friend. On the return trip to Indiana he suffered multiple anxiety attacks
as he listened to the radio accounts of the damages the mob had inflicted
to the interior of the Capitol. As he learned of injuries to members of law
enforcement, he began to comprehend the magnitude of the damage to
democracy and to our country, the riot he was part of, had caused.




                                                                          6
       Case 1:21-cr-00310-ABJ Document 46 Filed 12/14/21 Page 7 of 7




     He understands there are consequences to this misconduct. He
requested an early date to enter a plea of guilty for his actions. He
accepted a plea as soon as it was extended.



     WHEREFORE, we request the Court follow the recommendation of
the Office of United States Probation and Sentence Israel Tutrow to a
period of Probation of 24 months with an Order for Restitution of $500.00.


                            Respectfully submitted,


                            _________/s/________________
                            H. Heather Shaner, Esq. DC Bar 273 276
                            Appointed by the Court for Israel Tutrow
                            1702 S St. N.W.
                            Washington, D.C. 20009
                            Tel. 202 265 8210
                            hhsesq@aol.com




                                                                         7
